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11
                              IN THE UNITED STATES DISTRICT COURT
12
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14

15    RALPH COLEMAN, et al.,                                        2:90-cv-00520 LKK JFM P

16                                                    Plaintiffs,   DECLARATION OF DOUG
                                                                    MCKEEVER IN SUPPORT
17                    v.                                            OF DEFENDANTS’ REQUEST
                                                                    FOR EXTENSION OF TIME
18    ARNOLD SCHWARZENEGGER, et al.,                                TO PROVIDE PLAN TO
                                                                    ADDRESS ENHANCED
19                                                  Defendants.     OUTPATIENT CARE IN
                                                                    ADMINISTRATIVE
20                                                                  SEGREGATION UNITS

21
          I, Doug McKeever declare:
22
          1.   I am employed by the Division of Correctional Health Care Services, Division of
23
     the California Department of Corrections and Rehabilitation (CDCR). From January 2005 to
24
     October 2006, I held the position of Project Director, and was responsible for the development
25
     and preparation of projects arising from this case. Since October 2006, I have held the position
26
     of Director of the Mental Health Program, with direct oversight over the overall program and
27
     policy development and implementation for the statewide mental health program of the Division
28
     of Correctional Health Care Services. In both positions, I led a multi-agency work group
     Def. EOT EOP/Ad Seg, Dec. McKeever
                                                      1
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 1 dedicated to creating and implementing short-term, interim, and long-range mental

 2 health bed plans.

 3          2. I have personal knowledge of the facts stated in this declaration and if called to testify

 4 upon those facts would do so competently.

 5          3. I am aware this Court entered an order on March 9, 2007 directing Defendants to submit

 6 a plan in 90 days concerning the improvement of the Enhanced Outpatient Program to patients

 7 administrative segregation units.

 8          4. I am also aware this Court entered an order on June 1, 2007 directing Defendants to

 9 incorporate in that plan two items: a breakdown of administrative segregation unit inmates

10 awaiting transfer to a sensitive needs yard and a statement of the ability to increase the frequency

11 of Institution Classification Committee reviews of inmates awaiting the disposition of matters

12 referred to the local district attorney for prosecution.

13          5. Staff from both the Division of Adult Institutions and the Health Care Services Division

14 have been assigned to prepare this plan.

15          6. Staff met with court-appointed experts on this plan on May 3, 2007 and May 14, 2007.

16          7. A draft of the plan has been completed. Additional work remains on the plan, including

17 reviewing the policy changes suggested by the March and June court orders.

18          8. The number of pressing projects assigned to the same staff designated for development

19 of this plan has resulted in a delay in preparing the plan.

20          9. An additional 45 days will enable completion of an adequate and responsive plan

21 concerning EOP care in administrative segregation units.

22          I declare under the penalty of perjury that the foregoing is true and correct.

23          Dated: June 6, 2007            By:    /s/ Dough McKeever
                                                     Doug McKeever
24

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     Def. EOT EOP/Ad Seg, Dec. McKeever
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